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IN THE UNITED STATES DISTRICT COURT
FOR 'I‘HE WESTER_N DISTRICT OF TENNESSEE 05 AUB |9 AH 6: 52
WESTERN DIVISION

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CLEHK, U,S. F§L:»‘F?;f-CT COURT
EQUAL EMPLOYMENT OPPORTUNITY COMMISSION , W[D (‘;” ‘{J\`I :,{iFLMS
Plaintiff,
VS. NO. 04-2730-MaP

CLEVELAND CONSTRUCTION, INC. ,

Defendant.

 

ORDER AMENDING SCHEDULE

 

Pursuant to defendant's July 12, 2005, motion to amend
scheduling order in this matter, the court held a status
conference on August 5, 2005. Attending on behalf of the
plaintiff were Faye Williams and William Cash. Participating on
behalf of the defendant were Lisa Overall, and by telephone,
James Ludwig and Timothy Downing. For good cause shown, the

motion Was granted and the court amends the schedule as follows:

l. The deadline for expert disclosures is September 19,
2005.

2. The deadline for completing discovery is October 17,
2005.

3. The deadline for filing potentially dispositive motions

is November l6, 2005.

The jury trial remains as previously set on January 23,

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2006.

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Absent good cause, the amended schedule set by this order

will not be modified or extended.

So ORDERED this /guz\day of August, 2005.

§4(//"1/1._

SAMUEL H. MAYS, JR.
UNITED S’I‘A’I‘ES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CV-02730 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

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